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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

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United States of America,                              Criminal No. 05-387 (1)-(2) (RHK/RLE)

                       Plaintiff,                      ORDER CONTINUING TRIAL DATE
                                                       AND EXCLUDING DELAY
                v.

1. John Thomas Turpin, a/k/a John
   Thomas Goodwin, and

2. Gary Lynn Goodwin,

                  Defendants.
______________________________________________________________________________


        The Court finds that the exclusion of delay of time from 5/11/2007 through 6/11/2007 is in the

interests of justice and the Motion to exclude time from May 11, 2007 through June 11, 2007 is

GRANTED and time from May 11, 2007 through June 11, 2007 will be excluded from speedy trial clock

calculations.

Dated: May 14, 2007
                                               s/Richard H. Kyle
                                               RICHARD H. KYLE
                                               United Stats District Judge
